        Case 1:24-cv-03809-AT-KHP         Document 18        Filed 07/19/24           Page 1 of 4
Alli Stillman                                                    1271 Avenue of the Americas
Direct Dial: 212.906.1747                                        New York, New York 10020-1401
alli.stillman@lw.com                                             Tel: +1.212.906.1200 Fax: +1.212.751.4864
                                                                 www.lw.com




July 19, 2024



VIA ECF & EMAIL

Hon. Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

Re:        Mechanical Licensing Collective v. Spotify USA Inc., No. 1:24-cv-03809-AT (S.D.N.Y.)

Dear Judge Torres:

        Pursuant to Rules III.A and III.B.iii of Your Honor’s Individual Practices, Defendant
Spotify USA Inc. (“Spotify”) respectfully submits this pre-motion letter in support of dismissal
of the Complaint pursuant to Fed. R. Civ. P. 12(b)(6).

         This case concerns whether Spotify has paid the correct amount of royalties for the use of
musical works under the compulsory mechanical license under 17 U.S.C. § 115, pursuant to
regulations adopted by the Copyright Royalty Board (“CRB”) (“Phonorecords IV regulations”),
by reporting Spotify’s Premium subscription offering (“Spotify Premium”) as a “Bundle” under
those regulations. Plaintiff, the Mechanical Licensing Collective (“MLC”), which administers
this license, alleges that Spotify Premium is not a Bundle, and that Spotify underpaid royalties by
treating it as such. This is contrary to the facts as pled and the plain text of the Phonorecords IV
regulations. Spotify Premium is a Bundle because it provides both (a) paid, ad-free interactive
music streaming and (b) 15 hours of audiobook listening per month, for a single monthly fee.
The Complaint should be dismissed with prejudice.

I.         BACKGROUND

        Spotify is one of the largest streaming services in the United States. Compl. ¶ 1. In
addition to providing music streaming—including through Spotify Free, its ad-supported, limited
functionality music streaming tier, and Spotify Premium, a fee-based monthly subscription that
offers ad-free music listening and enhanced functionality—Spotify recently expanded into the
growing audiobook market. Id. ¶¶ 36–38, 44.

        After launching an initial audiobook offering through which users purchase audiobooks
a-la-carte for download,1 in late 2023 Spotify added 15 monthly hours of access to more than
200,000 audiobooks to its Spotify Premium subscriptions, allowing subscribers to discover and
1
    Spotify Audiobooks, https://www.spotify.com/us/audiobooks/ (cited in Compl. ¶ 45).
        Case 1:24-cv-03809-AT-KHP        Document 18       Filed 07/19/24     Page 2 of 4
July 19, 2024
Page 2




enjoy audiobooks with flexibility. Compl. ¶¶ 38, 45. On March 1, 2024, Spotify launched a new
standalone “Audiobook Access” subscription, providing access to 15 monthly hours of
audiobook content.2 Id. ¶¶ 43, 46.

        The issue here relates to the royalties that Spotify owes to MLC for Spotify Premium
after the launch of Audiobook Access. In general, the royalties paid by digital streaming
services like Spotify under the Section 115 license are based on a regulatory formula that
depends, in part, on the revenue that Spotify earns from streaming music. Id. ¶¶ 1, 27. Specific
to the disagreement here, it has long been the case that when a digital music provider bundles a
music service and some other product or service together in a single transaction, only that
portion of the revenue attributable to the music streaming component is included in the “revenue
base” subject to royalty.3 The same is true under the Phonorecords IV regulations. Compl. ¶ 23.
Indeed, during the Phonorecords IV ratesetting proceeding, music publishers insisted that
offerings including music streaming with some other product or service “should be treated as
bundles” for royalty calculation.4 The proceeding was resolved by a settlement that was
implemented in the Phonorecords IV regulations and touted by music publishers for achieving
the “highest royalty rate in the history of streaming anywhere” in exchange for, among other
concessions, “favorable language on bundles . . . that allows [the services] to get more
subscribers into the ecosystem.”5

        Spotify began reporting Spotify Premium as a Bundle in its March 2024 monthly royalty
report, which it submitted to MLC on April 14, 2024. Rather than giving Spotify any prior
notice or otherwise engaging (contrary to what would be, and is, expected of this government-
appointed entity6), on May 16, 2024, MLC filed this lawsuit, challenging Spotify’s
characterization of Spotify Premium as a Bundle.

II.       THE COMPLAINT MUST BE DISMISSED

        MLC’s core theory as to why Spotify’s Bundle treatment is improper is that providing
consumers with 15 hours of access a month to a library of more than 200,000 audiobooks lacks
“more than token value.” Compl. ¶¶ 8, 52. That argument is facially implausible and wrong as a
matter of law. Audiobooks—as part of Spotify Premium, and elsewhere in the market—have
significant, demonstrable value, and MLC’s effort to rewrite the very royalty terms to which
copyright holders agreed, and which the CRB enacted into law less than two years ago, should be
rejected out of hand.


2
  An Audiobook Access subscription includes access to Spotify’s free, more limited music
offering that falls outside Section 115. See Compl. ¶ 46. The naked allegation that,
notwithstanding that Spotify marketed Audiobook Access as only including this free, limited
music tier (id.), Spotify in fact provided Audiobook Access users with Premium tier, ad-free
music (id. ¶ 48), is implausible and unsupported by any evidence.
3
  See, e.g., 37 C.F.R. § 385.11 (2013) (Phonorecords II).
4
  Kokakis Written Rebuttal Testimony ¶ 39, at https://app.crb.gov/document/download/26550.
5
  https://www.nmpa.org/publishers-streamers-reach-deal-for-highest-streaming-royalty-rate-
ever-heres-how-it-works-billboard/.
6
  17 U.S.C. § 115(d)(3)(B) (governing designation of MLC by the Register of Copyrights).
        Case 1:24-cv-03809-AT-KHP        Document 18        Filed 07/19/24     Page 3 of 4
July 19, 2024
Page 3




       MLC’s Complaint fails to state a plausible claim for relief. See Ashcroft v. Iqbal, 556
U.S. 662, 678 (2009). Resolution of this case turns on a single question of law that can be
resolved on the face of the Complaint: Does Spotify Premium—which, as the Complaint
acknowledges, packages paid access to both music streaming and audiobooks for one monthly
fee—meet the definition of a “Bundle” under the Phonorecords IV regulations? Because the
answer to that question is “yes,” and Spotify indisputably paid the correct amount of royalties
associated with the Bundle, the Complaint should be dismissed.

        As explained in the Complaint, under the Phonorecords IV regulations, a “Bundle” is “a
combination of [1] a Subscription Offering providing Eligible Interactive Streams and/or
Eligible Limited Downloads and [2] one or more other products or services having more than
token value, [3] purchased by End Users in a single transaction.”7 Even taking the Complaint’s
factual allegations as true, Spotify Premium satisfies each of the foregoing criteria.

        First, the music streaming component of Spotify Premium indisputably is a Subscription
Offering providing Eligible Interactive Streams to consumers. That is why Spotify must pay
Section 115 royalties in the first place. Second, 15 hours of audiobook streaming plainly
constitutes an “other product or service.” Books are not music, and audiobook streaming is not
music streaming. Books are mainstream products offered both by Spotify and competitors via
downloads and subscription streaming and, importantly, they are created and licensed by
different rights holders (i.e., book authors and publishers) who charge separate license fees.
Third, there is no dispute that the monthly charge for Spotify Premium is a single transaction.

        That leaves only the question of whether 15 hours of audiobook streaming carries more
than “token value.” On this question, there can be no genuine dispute either. As the Supreme
Court has emphasized, “[d]etermining whether a complaint states a plausible claim for relief [is]
a context-specific task that requires the reviewing court to draw on its judicial experience and
common sense.” Iqbal, 556 U.S. at 679. It is common sense that 15 hours of audiobook
streaming has more than token value, and MLC’s contrary claim is facially implausible.
Americans pay over $2 billion for audiobooks annually.8 Amazon’s Audible service alone
generates more than $1 billion of annual U.S. revenue9 from two subscription services priced at
$7.95 and $14.95 respectively.10 Access through Spotify Premium to over 200,000
audiobooks—including new releases and best sellers—has obvious and significant independent


7
  37 C.F.R. § 385.2.
8
  https://www.audiopub.org/surveys.
9
  https://goodereader.com/blog/audiobooks/audible-has-a-65-market-share-for-audiobook-sales-
in-the-united-states.
10
   https://www.audible.com/ep/memberbenefits. That audiobooks carry economic value is not a
fact that this Court needs to ignore for purposes of Spotify’s anticipated motion. The general
size of the U.S. audiobooks market and the prices charged by competitors for products are
generally known, not subject to dispute, and appropriate for judicial notice. See Floyd v. City of
New York, No. 08-cv-1034-AT, 2020 WL 3819566, at *4 n.17 (S.D.N.Y. July 8, 2020) (taking
judicial notice of demographics based on information found on the internet); see also, e.g., 23-34
94th St. Grocery Corp. v. N.Y.C. Bd. of Health, 685 F.3d 174, 183 n.7 (2d Cir. 2012) (taking
judicial notice of content of website).
        Case 1:24-cv-03809-AT-KHP         Document 18         Filed 07/19/24     Page 4 of 4
July 19, 2024
Page 4




value. Fifteen hours of audiobook streaming is typically sufficient to complete at least one book
every month.11

        MLC’s contrary arguments find no basis in the text of the Phonorecords IV regulations
and are meritless. MLC argues that because Spotify waited several months before calculating its
royalties at the Bundle rate, it must not actually believe that Spotify Premium is a Bundle.
Compl. ¶¶ 5, 38–41, 50–51. That baseless speculation as to Spotify’s intent is irrelevant to the
legal question, which is whether at the time Spotify reported Spotify Premium as a Bundle, it met
the regulatory criteria cited above. On the face of the Complaint, the answer is “yes.”

         MLC also takes issue with how Spotify initially marketed Audiobook Access, suggesting
that it was hard for potential customers to find on Spotify’s website, which seems designed to
“steer subscribers to Premium.” Id. ¶ 45. But again, even accepting those allegations as true,
they have no bearing on whether Spotify Premium meets the legal definition of a Bundle.
Spotify is not required to make available its separate Audiobook Access product at all, let alone
market it in any particular way.12

         Finally, MLC tries to make much of the fact that Spotify did not immediately raise the
consumer subscription price of Spotify Premium upon adding audiobook access to that offering.
Compl. ¶¶ 8, 41, 52. This too is irrelevant. The relevant question is whether 15 hours of
audiobook streaming has “more than token value” to consumers, not whether Spotify chose to
immediately leverage that value by raising prices, or to keep prices constant for a time in order to
attract and retain more subscribers (the kind of business decision companies routinely make).13

        It is simply implausible to suggest that streaming of books created and licensed by
another set of copyright owners is worthless. Under Iqbal and Twombly, the Complaint has
failed to state a claim, and it would be a substantial waste of time and resources to litigate
through discovery what is abundantly clear—and widely recognized—from the face of the
Complaint and publicly noticeable sources: that 15 hours of audiobook streaming offers more
than token value. The Complaint should be dismissed with prejudice.


                                                   Respectfully submitted,

                                                   /s/ Alli Stillman
                                                   Alli Stillman

cc: All counsel of record (via ECF)

11
   For instance, the audiobook of Camino Ghosts by John Grisham is sold by Barnes & Noble for
$17.50, and is 10 hours and 17 minutes in duration. See https://www.barnesandnoble.com/w/
camino-ghosts-john-grisham/1144158890?ean=2940159216021.
12
   The regulations contemplate Bundles even where there is “no standalone published price for a
component of the Bundle.” 37 C.F.R. § 385.2. A service provider is thus permitted to create a
Bundle by adding a new product or service to an existing Subscription Offering without offering
that new product or service on a standalone basis.
13
   The regulations do not tie the “token value” to a consumer price. 37 C.F.R. § 385.2.
